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                               IN THE UNITED STATES BANKRUPTCY
                                 COURT FOR THE DISTRICT OF MARYLAND

IN RE:

         Starr Shannell Myers
                                                       *           Case No. 18-21762

                 Debtors                               *           Chapter 13
                *        *            *        *       *           *       *        *
         Starr Shannell Myers

                                                       *           Account No.: 4336
                    Movant s                           *

v.                                                     *

         Santander Consumer USA, Inc.                  *

                    Respondent                         *
                       *       *           *       *           *      *         *
                       MOTION TO VALUE COLLATERAL
              AND TO AVOID SECURITY INTEREST ON 2008 Toyota Sienna

         Starr Shannell Myers, Movant, by her attorney David M. Grossman, moves this Honorable

Court as follows:

          1. That on September 5, 2018 Movant initiated proceedings in this Court seeking relief under

Chapter 13, Title 11, of the United States Code,

          2. This Motion is filed pursuant to 11 U.S.C. §506 and Local Rule 3012-2 seeking to value

 collateral and to modify the interest rate.

          3. Santander Consumer USA, Inc. ("respondent") is in the business of lending money to

 individuals and does business within the State of Maryland.

         4.     At the time of the filing of the bankruptcy case, the debtor owned and still owns a 2008

Toyota Sienna ("the vehicle") against which the respondent holds a perfected purchase money security

interest and lien under an agreement dated October 12, 2013.

         5. The debt with Respondent was not incurred within 910 days preceding the date of the filing of

the petition.

         6. Pursuant to the claim filed by Respondent the pre-petition amount of the secured obligation

owed by the debtor under the agreement to the respondent is $11,707.33.

         7. The debtor states that the retail value of the collateral is $6,025.00 based upon its age,
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mileage, and condition as shown in the NADA Guides, a copy of which is attached hereto as

Exhibit A and is incorporated by reference

         8. The debtor asserts that a rate of interest of 5.75% is a fair market rate of return for the vehicle in

the present market.

        WHEREFORE, for the foregoing reasons, Movant requests that this Honorable Court:

                 A. Determine the applicable rate of interest payable on the allowed secured claim of the

respondent to be in the amount of 5.75% per annum; and

                 B.      And for such other relief as this Court may deem to be just and proper.


DATE: October 10, 2018                                   __/s/ David Grossman___
                                                         DAVID M. GROSSMAN
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                                                         Baltimore, Maryland 21201
                                                         (410) 752-6088
                                                         Federal Bar ID No.: 07461
                                                         David@Davidgrossmanlaw.com
                                                         Attorney for Movant

                                     CERTIFICATE OF SERVICE

I hereby certify that on the 10th day of October, 2018, copies of the foregoing Notice were served on all
parties set forth on the attached Claim’s Register and the parties listed below by first class mail:


                  Santander Consumer USA, Inc.
                  c/o RESIDENT AGENT
                  The Corporation Trust Incorporated
                  2405 YORK ROAD, Suite 201
                  LUTHERVILLE TIMONIUM MD 21093-2264

                  Santander Consumer USA, Inc.
                  c/o Abel Marin
                  PO Box 961245
                  Fort Worth, TX 76161-1245
                  (Individual who signed a proof of claim filed by respondent)

                  Nancy Spencer Grigsby
                  185 Admiral Cochrane Dr
                  Suite 240
                  Annapolis MD 21401

                  Starr Myers
                  1235 Kevin Rd.
                  Baltimore, MD 21229
                                                                  /s/ David M. Grossman_____
                                                                  DAVID M. GROSSMAN
                                                                  Attorney for Movant
